
10 So.3d 1134 (2009)
Thomas SCHROEDER, Tequesta Hill, by and for her minor sons, Raynard Coney and Rubin Coney; Lisa Carmona, by and for her minor son, Andres Davila; Jayne King, by and for her minor son, Will Milner; Lyanna Ridley; *1135 Jacob Rose, by and for his minor sons, Student H and Student T; Daryl Brooks, by and for his minor nephew, Keandre Brooks; Barbara Aho, by and for her minor son, Edward Aho, and Erica Aho, Appellants,
v.
The PALM BEACH COUNTY SCHOOL BOARD and Arthur C. Johnson, in his official capacity as the Palm Beach County School Superintendent, Appellees.
No. 4D08-3886.
District Court of Appeal of Florida, Fourth District.
May 13, 2009.
Rehearing Denied July 6, 2009.
Muslima Lewis of American Civil Liberties Union of Florida, Miami; Ramona M. Hupp, West Palm Beach; Christopher A. Hansen of Vanita Gupta ACLU, New York and Deborah H. Archer, New York, for appellants.
Sonia E. Hill-Howard and Gerald A. Williams, West Palm Beach, for appellees.
Prior report: 2008 WL 5376086.
PER CURIAM.
Affirmed. Simon v. Celebration Co., 883 So.2d 826 (Fla. 5th DCA.2004).
TAYLOR, MAY, JJ., and GARCIA-WOOD, MARINA, Associate Judge, concur.
